Case 6:20-cr-00097-GAP-LRH Document 116 Filed 06/03/21 Page 1 of 2 PageID 538




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                             CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG


             ORDER and NOTICE OF SENTENCING HEARING

      TAKE NOTICE that a sentencing hearing is scheduled for Thursday,

August 19, 2021, at 9:30 a.m. This hearing will be held before the Honorable

Gregory A. Presnell in Courtroom 5A, United States Courthouse, 401 West Central

Boulevard, Orlando, Florida. The defendant is required to be present.

      Sentencing memoranda and any exhibits shall be submitted at least ten days

prior to sentencing. Any motions with respect to departure from the sentencing

guidelines shall be filed no later than seven days prior to sentencing, with

responses due no later than three days prior to sentencing.

      Seating may be limited in Courtroom 5A. However, at least one overflow

area with both audio and video feed of the hearing will be provided for the public

and members of the media.

      No electronics shall be permitted inside the courthouse or courtrooms other

than those allowed pursuant to M.D. Fla. Local Rule 7.02. Members of the press

shall not be permitted to bring electronics into the courthouse or courtroom for
Case 6:20-cr-00097-GAP-LRH Document 116 Filed 06/03/21 Page 2 of 2 PageID 539




this hearing. This directive supersedes the Court’s previous order allowing

members of the press to bring electronic devices into the courthouse and the

courtroom (Doc. 95).

      This is an in-person hearing and remote access to the hearing will not be

available. All inquiries by any member of the press shall be directed to Megan

Mann at 904-549-1915. Members of the press shall not contact my chambers

directly.

      DONE and ORDERED in Orlando, Florida on June 3, 2021.




Copies furnished to:

United States Marshal
United States Attorney
United States Probation Office
United States Pretrial Services Office
Counsel for Defendant




                                         -2-
